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          EXHIBIT A
                             Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 2 of 10

   SUMMONS - CIVIL                                                                                                                                                      STATE OF CONNECTICUT
  JD-CV-1- Rev. 4-16
, C.G.S. §§ 51-346, 51-347, 51-349, 51-350, 52-45a,
  52-48, 52-259, P.B. §§ 3-1 through 3-21, 8-1, 10-13
                                                                                                                                                                            SUPERIOR COURT
                                                                                                                                                                                               www.jud.ctgov1=%40 :1
  See other side for instructions

        "X" if amount, legal interest or property in demand, not including interest and
  1---1 costs is less than $2,500.
  vie "X" if amount, legal interest or property in demand, not including interest and
        costs is $2,500 or more.
  111 "X" if claiming other relief in addition to or in lieu of money or damages.

 TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
 this Summons and attached Complaint.
  Address of court clerk where writ and other papers sha be filed (Number, street, town and zip code) Telephone number of clerk Return Date (Must be a Tuesday
  (C. G. S. §§ 51-346, 51-350)                                                                        (with area code)
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   300. Cceit.ic) SA-reei-                              ,                                               Ac23) 511-3300
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  El Judicial District
     Housing Session
                                                 G.A.
                                                 Number.
   For the Plaintiff(s) please enter the appearance of: marlcsr4
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                                                                         At (Town in which writ is returnable) (C.G S. §§ 51-346, 51-349)                                              Case type
                                                                                                                                                                                        Major:
                                                                                                                                                                                                        de (See list on page 2)
                                                                                                                                                                                                                      Minor:   90
                                                                                                                                                            12,                                         Ona.e44        C -r - c.,(=e5-11
  Name and address of attorney, law firm or plaintiff if self- epresented Number, street to:resnde_icr.e)                                                                              AlliS number (to be enteled by attorney only)
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  Da.vrA V. Myles ;                                 (A                       IlmA g               cDt=.
  Telephone number (v5ith area code)                                natTeStiff-            epresented)D.
  (UD) C71-16, 3CCO                                                                                         ;                          V. VAyle.s.                      C.44,                 -51.rwe-kirek-
  The attorney or law firm appearing for the plaintiff, or tie plaintiff if                                                     Email address lot delivery of papers under Section 10413 if agreed to)
  self-represented, agrees to accept papers (service) electronically in                    El Yes               111 No                                                      Vtftes.uttii,          +e—
  this case under Section 10-13 of the Connecticut Practice Book.                                                                                                          Metr           ez7.3.4-kwej 4-

  Number of Plaintiffs:        a     Li              Number Of Defendants:                    F         y               ri    Form JD-CV-2 attached for additional parties
       Parties              Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
        First           Name:                         1.                                                              - 'r   30s-ert_s                •-               i.k.z.k.st,g G.: -.17.                                     13-01
       Plaintiff        Address:          \       --&T-1 %    i         \---Lfcla                                            as- ..swik.,,, -                          a     e i k^:ejA
     Additional         Name:                                                                                                                                                                                                     P-02
      Plaintiff         Address:          NA I ES. , 'J 'etv'''A                       V.                             T: 0 • ::•0)r-           '9e             LADA.-kirL.o...1                      '...r:     Ced7,2-0
       First            Name:                             I                                                                  cio         e..-- T7 e--.xeora-‘44:44 514I ,---m                                                    D-01
     Defendant          Address:                ,,,,, As 1le 4 A0,„,                              -r Nc_.,
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     Additional
       ditional         Name:                                 1                                                         ......
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     Defendant          Addres
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     Additional         Name:                                 I                                                          c...1c,     e.-"T":        e.....=.-rvcA-Isc•Nt              ..E.,k,1,4_                                D-03
     Defendant          Address: (F\ al .'
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     Additional         Name                                                                      .-_                 .......eat2.                  - - - 4.-                                                                 D-04
     Defendant          Addres                   raa-'"           -4-          ..'                                                                     \                                                111...,.._.   ... ---    .
                                                     )                    '          illli - ..-vtil
   Notice to Each Defendant
   1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making
       against you in this lawsuit.      -
   2. To be notified of further proceedings, you or your attorney must file a form called an "Appearance" with the clerk of the above-named Court at the above
      Court address on or before the second day after the above Return Date. The Return Date is not a hearing date. You do not have to come to court on the
      Return Date unless you receive a separate notice telling you to come to court.
   3. If you or your attorney do not file a written "Appearance" form on time, a judgment may be entered against you by default. The "Appearance" form may be
      obtained at the Court address above or at www.jud.ct.gov under "Court Forms."
   4. If you believe that you have insurance that ;ay cover the claim that is being made against you in this lawsuit, you should immediately contact your
      insurance representative. Other action you ay have to take is described in the Connecticut Practice Book which may be found in a superior court law
      library or on-line at www.jud.ct.gov under "Court Rules."
   5. if you have questions about the Summons and Complaint, you should talk to an attorney quickly. The Clerk of Court is not allowed to give advice on
      legal questions.
                                                                    ommissioner o t e
                                                                  Superior Court
                                                                  Assistant Clerk
  If this Summons is signed by a Clerk:
  a. The signing has been done so that the Plain iff(s) will not be denied access to the courts.                                                                                             File Date
  b. It is the responsibility of the Plaintiff(s) to seq that service is made in the manner provided by law.




                                     r
  c. The Clerk is not permitted to give any legal advice in connection with any lawsuit.
  d. The Clerk signing this Summons at the request of the Plaintiff(s) is not responsible in any way for any errors or omissions
      in the Summons, any allegations contained in the Complaint, or the service the Summons or Complaint.
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    I certify I have read and
    understand the above:
                                              i ned (Selffep ese ed Plaintiff)
                                                                                                                                                                                            D61717-3                           ur,
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                             Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 3 of 10


CIVIL SUMMONS                                                      STATE OF CONNECTICUT
CONTINUATION OF PARTIES                                               SUPERIOR COURT
JD-CV-2      Rev. 9-12

First named Plaintiff (Last, First, Middle Initial)

S       4-9-,r1
First named Defentrant (Last, First, Middle Initial)

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Additional Plaintiffs
Name (Last, First, Middle Initial, ifindividual)                              Address (Number, Street, Town and Zip Code)                                     CODE

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Additional Defendants
Name (Last, First, Middle Initial, if individual)                             Address (Number, Street, Town and Zip Code)                                     CODE

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                                                                                                                                    FOR COURT USE ONLY- File Date

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                                                                                                                        14     Docket number



                                                                                                                                     CIVIL SUMMONS-Continuation
    Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 4 of 10




RETURN DATE: —7014_1                           01   3                              SUPERIOR COURT


HAROLD STERLING,                                                                   J.D. OF WATERBURY
CHRISTOPHER SHUCKRA*9
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                 V.S.


SECURUS TECHNOLOGIES, INC.
ABRY PARTNERS, ET AL.                                                              FEBRUARY 23, 2018
                  'Estiz_L&I-4/      LLL




                                                        COMPLAINT

    1. Plaintiffs Harold Sterling and Christopher Shucicraa have served periods of

         incarcerations within the state of Connecticut Department of Correction' at

         various times between 2015 and the present day;

    2. While incarcerated within the Connecticut Department of Correction plaintiffs

        Sterling and Shuckra had occasion to utilize the "collect call only" telephones

         provided by t e CT-DOC through its contractor Securus Technologies, Inc. and

         Abry Partnersto call their friends and relatives, who were charged $3.90 (three

         dollars and ninety cents) for every fifteen (15) minute phone call (a call rate of

         twenty-four[24] cents per minute);




'Connecticut Departmerit of Correction shall be referred to as "CT DOC" throughout this Complaint.
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   Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 5 of 10




  3. While in the community, plaintiffs Sterling and Shuckra received "collect calls"

           and established advance pay accounts to receive phone calls from inmates that

       were in the custody of the Connecticut Department of Correction;

  4. Plaintiffs Sterling and Shuckra personally expended thousands of dollars to pay

           for collect phoIte calls received from inmates in CT-DOC custody between 2015

           and present day;

  5. The plaintiffs collectively and at various times have received unauthorized "robo

           calls" and said calls violate the Telephone Consumer Protection Act of (TCPA).

  6. The defendants Securus Technologies and Platinunm Equit pay an improper

           and allegedly illegal "kickback" commission to the state of Connecticut which

           greatly inflates the per minute rate the plaintiffs pay to receive collect call phone

           calls from inmates in the custody of the CT-DOC;

  7. The "kickback" commission enumerated in paragraphs # 7 is excessive and

           taxed directly o persons who pay to receive phone calls from inmates in the

           custody of the CT-DOC, such as the plaintiffs;

  8. The defendants fail to advice the plaintiffs and others paying for "collect calls"

           from inmates    at such a kickback commission and is directly added to the cost

           of said collect hone calls;

  9. The plaintiffs ave been charges a fee of $3.00 (three dollars) when they load

           funds onto the advance pay accounts. This fee is excessive and the plaintiffs


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 Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 6 of 10




   must pay the fee to continue to fund their advance pay accounts and receive

   continuous col ect phone calls from inmates in CT-DOC custody;

10. On numerous )ccasions the defendants have frozen or closed the plaintiff's

   advance pay accounts for no reason, provide no "appeal" process to have the

   advance pay a count un-frozen or re-opened and in essence "freeze out" the

   plaintiffs phone numbers without due process;

11. On information and belief the defendants utilize voice over internet protocol

   (VOIP) to provide telecommunication services to the plaintiffs. Many of these

   phone calls are of very poor quality and are often disconnected prematurely .

12. When the events described in paragraph #1/ occur, the defendants provide the

   plaintiffs abso11utely no process or procedure to obtain "credit" for poor quality

   or, disconnected calls and the defendants are thus unjustly enriched at the

   plaintiffs expense.

13. When the,plaintiffs attempt to remedy any consumer service issue, it is

   impossible to 11each a live customer service representative;

14. When funds are added to an advance pay account and not fully utilized to pay

   for collect calls within thirty (30) days, the defendants systematically remove the

   funds from the plaintiffs advance pay accounts and are again unjustly enriched

   via an imprope r and arguably illegal conversion of the plaintiffs funds to the

   custody and c ntrol of the defendants;




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   Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 7 of 10




FIRST COUNT (Vio ation of the Connecticut Unfair Trade Practices Act)

   15. The averments set forth in paragraphs 1 through 15 inclusive, of this complaint

      are hereby incorporated by reference as though fully set forth, and made

      paragraphs 1 through 15 of the first count;

   16. Connecticut General Statute Section 42-110g confers a statutory right of action

      authorizing the implementation of this legal count within this civil proceeding;

   17. The acts and/or omissions of the defendants, Securus Technologies and Abry

      Partners, as more particularly described within paragraphs 1 through 15 of this

      complaint violate Connecticut General Statute Sections 42-110(b)a, otherwise

      known as the onnecticut Unfair Trade Practices Act (CUTPA);

   18. The defendan s, Securus Technologies and Abry Partners are jointly and

      severally liable to the plaintiffs for their acts and/or omissions as are more fully

      set forth in paragraphs 1 through 15 of this complaint and for any and all

      damages incurred by the plaintiffs as a result thereof;

SECOND COUNT Conversion and Unjust Enrichment)

   19. The averments set forth in paragraphs 1 through 15 inclusive, of this complaint

       are hereby in orporated by reference as though fully set forth, and made

       paragraphs 1 hrough 15 of the second count;

   20. The acts of t e complaint constitute the tort of conversion and are actionable

       under Conne ticut common law;




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   Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 8 of 10




THIRD COUNT (Violation of the Telephone Consumer Protection Act of

                   19 1[TCPA])

   21. The averments set forth in paragraphs 1 through 15, inclusive, of this complaint

      are hereby inc rporated by reference as though fully set forth and made
                    I
      paragraphs 1 through 15 of the third count;

   22. The acts of the defendants as enumerated within paragraphs 1 through 15 of the

      complaint constitute various violations under the telephone consumer

      protections act of 1991 (TCPA);




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    Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 9 of 10




         WHEREFORE, the plaintiffs in this matter respectfully request the following:



                A. Co pensatory damages against Securus Technologies Inc. and Abry

                   P      e s;

                B. Punitive damages pursuant against Securus Technologies Inc. and

                    Abry Partners;

                C. Treble damages pursuant to Connecticut General Section 52-564

                    against Securus Technologies, Inc. and Abry Partners;

                D. Costs and expenses associated with the bringing of this action;

                E. Any further relief that the court finds just and proper under the laws

                    of the State of Connecticut;




Respectfully submitted,




Harold Sterling #385913                               Christopher Shuckra        3510
Robinson C.I.                                         Rettilisairfel-kW r)14.4 - 6 76.60 c
285 Shaker Road                                    311 *Shaker Road
Enfield, CT. 06082                                    Enfield, CT. 06082
                                                      Tel. (860)296-3000
                                                       Email-cshuckra@gmail.com

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    Case 3:18-cv-01310-VAB Document 1-1 Filed 08/08/18 Page 10 of 10




RETURN DATE:                                              SUPERIOR COURT


HAROLD STERLING,                                          J.D. OF WATERBURY
CHRISTOPHER SitUCICRA



                V.S.


SECURUS TECHNOLOGIES, INC.
ABRY PARTNERS, ET AL.                                     FEBRUARY 23, 2018




                        STATEMENT OF AMOUNT IN DEMAND


       The amount in demand in this matter is greater than $15,000 exclusive of costs

and interest.




                                                          Respectfully submitted,

                                                          The Plaintiffs




Harold Sterling # 385                                    Christopher Shuckra
Robinson C.I.                                            Rar/igscira-el. vhme.4
285 Shaker Road                                      3q 1 &Shaker Road
Enfield, CT. 06082                                       Enfield, CT. 06082
                                                         Tel. (860)296-3000
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